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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

PEDRO FRANQUI
    Plaintiff,                                            CIVIL ACTION
                                                       FILE NO 8:14-cv-00803-JSM-TGW
v.

STELLAR RECOVERY COLLECTION
AGENCY, INC.

               Defendant.

________________________/



                                 NOTICE OF SETTLEMENT


       Plaintiff, Pedro Franqui, through counsel, gives notice that the parties have entered into a

settlement of this claim. Each party will bear his or her own costs.




                                                                               /s/ W. John Gadd
                                                                              W. John Gadd, Esq.
                                                             Attorney for Plaintiff, Pedro Franqui
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that one original and one copy of the foregoing to Defendant’s

          Counsel on record, Skip Kohlmyer via email to Kohlmyer@urbanthier.com

                            DATED this 8th day of December, 2014.

                                                                         /s/W John Gadd
                                                                             W. John Gadd
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